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August 14, 2020

Sent by Email

Brian Rosen, Esquire
Proskauer Rose LLP
Eleven Times Square
Eighth Avenue 41st
New York, NY 10036-8299
brosen@proskauer.com

Laura Stafford, Esquire
Proskauer Rose LLP
One International Place
Boston, MA 02110
lstafford@proskauer.com

Re: Revised Proposal for Binding Arbitration Services (Alternative Dispute Resolution Procedures)

Dear Counsel,

Thank you for your consideration of JAMS to provide arbitration services for your clients and the claimants
in this matter. After evaluating this proposal in detail, our hope is that counsel and the Official Committee
of Unsecured Creditors will see that JAMS is the right choice for this program.

Additionally, please note that we appreciate the efforts by counsel to provide information concerning the
claims that the chosen arbitration provider would resolve. After consulting with members of our
bankruptcy panel, however, JAMS is not able to offer per-case flat fees because the time requirements of
each arbitration will be discernable only when the details of each claim are known. Given the experience
of the JAMS panel in claims litigation, however, we expect that our arbitrators will spend less time on
these claims than would other providers without such backgrounds.

As you will see, JAMS is proposing flat hourly rates devoid of any fees. This pricing model will result in
lower costs for smaller matters compared to our prior proposals.

Below please find a brief description of our company background and qualifications, followed by some
specific information on how we can assist. In that regard, please know JAMS is committed to being flexible
in order to best serve the needs of the parties in this process.
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About JAMS

JAMS is the largest private alternative dispute resolution (ADR) provider in the world, currently in our 41st
year of resolving disputes of all types.

JAMS remains on the forefront of ADR thought leadership, in large part because of our senior
management team. Several of our executives serve on ADR-related boards to lend vision to the industry.
Sharing the virtues of ADR is also the goal of The JAMS Foundation, funded entirely by generous
contributions from JAMS neutrals, senior management, and associates. The Foundation provides grants
for conflict resolution initiatives with national and international impact, and has provided millions of
dollars in funding since its inception—more than any other organization of its type.

Please find the JAMS General Brochure with more information for your review in Exhibit A.

The JAMS Panel

Our panel of greater than 400 neutrals (mediators, arbitrators, and special masters) includes more retired
United States Bankruptcy Judges, United States District Judges and United States Magistrate Judges than
any other ADR provider. Their familiarity with the claims litigation process—including management and
expedient resolution of large numbers of matters—brings unmatched experiential value to the matters
on which they work. Our highly-regarded Bankruptcy Panel is notably diverse in its experience and
background; more information about this panel and our extended Federal Panel is included in Exhibit B.
Our panel of neutrals also includes esteemed former state court judges and attorneys with notable track
records and experience in bankruptcy matters

JAMS recruiting processes are very strict, and only vetted and experienced candidates are asked to join
the panel. The capabilities of our neutrals are bolstered by a longstanding, comprehensive, and
mandatory ongoing training curriculum administered by the JAMS Institute. JAMS neutrals are supported
by highly trained case management professionals who are lauded for their unmatched client service skills.

Large-scale ADR Expertise

JAMS brings significant experience and success administering ADR programs involving numerous
claimants that are managed in accordance with special rules, procedures, and protocols. For example,
JAMS:

    •   Currently administers tens of thousands of mass arbitrations arising from alleged wage and hour
        violations by high-profile technology and food service companies;
    •   Presently administers a large program for a major financial institution and its customers which
        has resulted in thousands of telephonic mediation sessions;
    •   Created numerous specialized facilities for handling mass claims arising out of disasters, including:


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            o   Administration of a program with an agency of the United States Federal Government to
                oversee hearings between that agency and those it serves; this program resulted in
                thousands of individual telephonic sessions and written recommendations;
            o Allocation of an $80 million settlement to over 13,000 claimants in an oil refinery
                litigation;
    •   Adjudicated the largest civil rights settlements in U.S. history involving tens of thousands of claims
    •   Resolved numerous claims arising from data breaches and other “single event” instances yielding
        large numbers of telephonic and paper arbitrations; and
    •   Allocated billions of dollars to thousands of claimants in landmark mass tort settlements.

JAMS typically relies upon the administrative excellence of our 230+ employees to accommodate
substantial case surges. Where appropriate, JAMS is also accustomed to coordinating and utilizing the
assistance of third parties, such as claims administration firms, to accommodate additional volumes of
work under specific circumstances.

Award-winning Service

JAMS draws accolades consistently from the legal and business industries, as evidenced from awards
bestowed in the last several years alone. Please see Exhibit E for details.

JAMS’ Role; Underlying Dispute

We understand our role would consist of administering a program to arbitrate claims arising out of the
Title III cases of the Commonwealth of Puerto Rico, the Puerto Rico Highways and Transportation
Authority, the Employees Retirement System of the Government of the Commonwealth of Puerto Rico,
the Puerto Rico Electric Power Authority, and the Puerto Rico Public Buildings Authority (collectively, the
“Debtors”). Details concerning the required arbitration process and other alternative dispute resolution
procedures are contained in the Order dated April 1, 2020 entered by the Hon. Laura Taylor Swain, United
States District Judge, authorizing alternative dispute resolution procedures detailed in an accompanying
exhibit (“Order”).

JAMS’ Role; Program Specifics

Based on our current understanding of the needs of the arbitration program for these cases, we restate
and propose that the program have the following characteristics:

Case type

This program will consist of arbitrations only.




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Quantity and Duration

It is JAMS’ understanding that there could be thousands of arbitrations resulting from the procedures
established by the Order. Once identified by the Debtors, in order to ramp-up appropriately JAMS
welcomes the opportunity to learn more about the pace at which eligible claims would be forwarded to
JAMS for commencement. In any event, JAMS is able to mobilize quickly based on the needs of the
program

Language

As described below and contained in Exhibit D JAMS has identified a panel of qualified, experienced
arbitrators who are fluent in Spanish.

JAMS expects that for convenience and cost reasons parties may be interested in having the option of
either Spanish-speaking (bilingual) or English-speaking arbitrators. JAMS arbitrators are all English
speakers, and having a larger panel of arbitrators available would allow for a more expedient and lower-
cost resolution process.

Hearing Format

Based on the Order and communication with Debtors’ counsel, JAMS understands that arbitration
hearings will take place in-person (in Puerto Rico) and by videoconference.

JAMS welcomes a discussion with counsel about how cases might be categorized by objective factors,
such as amount in controversy, claimant access to technology, or the Debtors’ (or others’) assignment of
priority to claimants, in order to determine whether certain matters should necessitate in-person hearings
especially in light of COVID-19 concerns and impact.

        In-person—JAMS and Debtors’ counsel discussed that the Debtors would likely provide hearing
        facilities in Puerto Rico. Should this become untenable, JAMS can attempt to procure hearing
        locations at cost.

        Further, JAMS would like to discuss with counsel the desirability of a “triage” approach to hearings
        occurring in Puerto Rico. In order to facilitate efficient resolution of claims, Arbitrators would be
        willing to stay in Puerto Rico for extended lengths of time in order to maximize the numbers of
        matters that could be heard in-person and to minimize travel expenses for the parties. JAMS
        could institute a rotation of arbitrators for sustained on-site presence in Puerto Rico.

        Subject to capacity limitations, JAMS offers the use of its nationwide facilities at no cost for these
        hearings should it makes sense for the parties.

        Videoconference—JAMS neutrals have conducted thousands of hearings where all or some
        parties are located remotely.* JAMS utilizes two primary platforms for video-based sessions,

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        CourtCall and Zoom. Costs associated with these technologies, if any, would be shared by the
        parties pursuant to the Order. More information about JAMS online capabilities is available at
        https://www.jamsadr.com/online or can be provided upon request.

        *Please note that in the advent of coronavirus and COVID-19-related office closures and travel
        restrictions, JAMS and its clients have further embraced the use of videoconferencing tools to
        resolve disputes. JAMS neutrals are adept at managing the resolution process whether they are
        conducting an in-person or virtual hearing. Additionally, JAMS neutrals and administrators
        receive ongoing training in the latest videoconferencing technology and best practices.

Prehearing matters will take place by telephone and by email per the Order.

Award Considerations

Given our large-scale program experience, JAMS understands that consistency in alternative dispute
resolution programs is paramount. For this reason, one consideration that JAMS and counsel could
discuss is the implementation of an award template for all program decisions. Another possibility could
be the use of a bilingual law clerk to perform quality assurance review prior to the issuance of awards.

Point of Contact (POC) and Arbitration Procedures

A dedicated JAMS POC will be appointed to streamline all administrative elements of the program, and
will have experience administering similar ADR programs and managing a team of support personnel. The
POC, or members of the POC’s team, will be bilingual (English and Spanish). Given the procedures outlined
in the Order, we envision the JAMS POC will work with primary contacts assigned by the Debtors and
Designated Claimants once Arbitration Notices are served.

The JAMS POC and support personnel will follow the additional procedures outlined in the Order such as
appointment of arbitrators, scheduling, and the like.

Panel

JAMS will establish a panel of arbitrators with relevant experience for this program. As noted above, the
panel may consist of Spanish-speaking arbitrators and English-speaking arbitrators.

In addition to the bankruptcy experts described above and listed in Exhibit B, please see Exhibit D for a
sample list of Spanish-speaking arbitrators who are interested in serving this program along with their
concise biographical information.

Please note that JAMS arbitrators are almost exclusively professionals who are retired judges or lawyers
who have left the practice of law, or on rare occasions are transitioning out of practice and into fulltime
ADR work. Thus, JAMS arbitrators are generally free from the network of conflicts faced by practitioners
attached to law firms and other ADR providers, for example.

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Pricing

JAMS will waive customary Filing Fees and Case Management Fees for claims under this program, and
offers the following rate structure for your consideration. The tiered rate structure, based on hours spent
on each matter, is designed to correlate with case complexity more fairly than other objective criteria
(e.g., case type, claim amount, etc.).

Tiered Rates

Rate for the initial 10 hours*....................................................... $525 per hour

Rate for time in excess of 10 hours and up to 20 hours* ………… $625 per hour

Rate for time in excess of 20 hours............................................. $725 per hour

Billing is entered at the close of each day for each arbitration.

* Once the time threshold of a tier is met on an individual arbitration, any additional time billed for
services on that matter on the same day will be billed at the rate in effect earlier that day. Subsequent
hours billed on a following day will be billed at the next higher rate tier. For example: if an arbitrator bills
9 hours at $525 per hour for an initial review of the file and an initial conference call, and then bills an
additional 4 hours reviewing briefs over one day, those 4 hours would also be billed at the $525 per hour
rate.

In its discretion JAMS and its arbitrators may offer reduced rates or pro bono services under certain
circumstances, such as in matters involving unrepresented claimants and certain civil rights claims. JAMS
welcomes further discussion regarding reduced rates once claim details are known.

Expenses incurred by JAMS associated with travel, videoconferencing, interpretation and translation shall
be split by the parties at cost. Physical hearing facilities in Puerto Rico, to include work space to be used
by the arbitrators outside of sessions, to be provided by the Debtors per discussions with Debtors’ counsel.

Based on available information, JAMS does not believe that a Puerto Rico-based JAMS administrative
resource would be necessary to serve this program. Should such a resource be requested of JAMS or be
made necessary by circumstances unknown to JAMS at this time, such costs should be split between the
parties to an arbitration or otherwise be reimbursed by the Debtors.

JAMS arbitrators may use law clerks to reduce costs to the parties and to expedite the resolution process.
The parties will be informed at the onset of an engagement if the neutral plans to use a clerk. Expenses
related to the use of clerks will not be billed to the parties.




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Payment

The parties and their attorneys agree to pay JAMS for arbitrations as set forth in the policies described
below. JAMS’ agreement to render services is jointly with the party and attorney or other representative
of the party in arbitration.

Unless otherwise agreed by JAMS, the parties agree that they are liable for and agree to pay their portion
of JAMS’ rates and expenses and for all time spent by the arbitrator, including any time spent in rendering
services before or after the arbitration hearing. Parties are billed a preliminary retainer of $4,350 per
party to cover the expense of pre-hearing work, including conference calls. Payment of the preliminary
retainer is required prior to scheduling a preliminary arbitration management conference with the
arbitrator. Additional retainers will be billed should existing amounts on file be deemed insufficient to
cover the cost of the arbitration through finality. Unused amounts will be refunded.

The parties agree to pay all invoices received prior to the hearing in advance of the arbitration hearing. If
such payments have not been made prior to the arbitration hearing, the party or parties who have not
paid remain liable for such payments. The parties agree that JAMS may cancel an arbitration hearing and
will not deliver the arbitrator's decision to any party without full payment of all invoices. Refunds will be
issued to the individual or entity that was billed, regardless of payor(s). For payments remitted via e-
check, credit card, or ACH, refunds will be issued to the credit card or bank account that was used to make
the payment.

Cancellation/Continuance Policy

Cancellations or continuances occurring 14 days or more prior to hearing are 100% refundable, except
for time incurred.

Cancellations or continuances occurring less than 14 days prior to hearing will result in a cancellation fee
of $3,000 unless the arbitrator’s time can be rescheduled with another matter. The cancellation policy
exists because time reserved and later cancelled generally cannot be replaced. In all cases involving non-
refundable time, the cancelling or continuing party is responsible for the fees of all parties.

Other payment terms may apply after further discussions with counsel. Additionally, if counsel have
different thoughts about a pricing structure or payment terms that better suit this program, please know
that JAMS will try to accommodate such requests.




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We sincerely appreciate the opportunity to assist with this program. Please do not hesitate to contact me
for more information or with any questions or concerns.

Best Regards,




John T. Pardun, Esq.
National Business Development Director
JAMS
5 Park Plaza, Suite 400
Irvine, California 92614
714-937-8255
jpardun@jamsadr.com

Exhibits attached




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                               Exhibit A: Brochure




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                         Exhibit B: JAMS Retired United States
                            Bankruptcy Judges and Experts




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                                  Exhibit C: Former United States
                               District Judges and Magistrate Judges




Hon. Wayne R. Andersen (Ret.)                             Hon. Jay C. Gandhi (Ret.)

Hon. Ted E. Bandstra (Ret.)                               Hon. Irma E. Gonzalez (Ret.)

Hon. Stanley F. Birch (Ret.)                              Hon. Stephen E. Haberfeld (Ret.)

Hon. Thomas M. Blewitt (Ret.)                             Hon. David Warner Hagen (Ret.)

Hon. Edward A. Bobrick (Ret.)                             Hon. Rex Heeseman (Ret.)

Hon. Wayne D. Brazil (Ret.)                               Hon. Carl W. Hoffman (Ret.)

Hon. Bill H. Brister (Ret.)                               Hon. James F. Holderman (Ret.)

Hon. Garrett E. Brown (Ret.)                              Hon. Roger T. Hughes (Ret.)

Hon. Geraldine Brown (Ret.)                               Hon. John J. Hughes (Ret.)

Hon. Rosalyn Chapman (Ret.)                               Hon. Edward A. Infante (Ret.)

Hon. Charles N. Clevert (Ret.)                            Hon. Jeff Kaplan (Ret.)

Hon. David H. Coar (Ret.)                                 Hon. Theodore H. Katz (Ret.)

Hon. William G. Connelly (Ret.)                           Hon. Arlander Keys (Ret.)

Hon. Frank C. Damrell (Ret.)                              Hon. George H. King (Ret.)

Hon. Morton Denlow (Ret.)                                 Hon. Elizabeth D. Laporte (Ret.)

Hon. Michael H. Dolinger (Ret.)                           Hon. Lawrence R. Leavitt (Ret.)

Hon. William F. Downes (Ret.)                             Hon. Peggy A. Leen (Ret.)

Hon. Robert Faulkner (Ret.)                               Hon. Benson Everett Legg (Ret.)

Hon. Joan N. Feeney (Ret.)                                Hon. John C. Lifland (Ret.)

Hon. James "Jay" C. Francis (Ret.)                        Hon. Frank Maas (Ret.)

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Hon. Michael T. Mason (Ret.)               Hon. Donald G. Wilkerson (Ret.)

Hon. James R. Melinson (Ret.)              [Individual biographies for the listed retired
                                           judges can be found on the JAMS website here.]
Hon. Carlos R. Moreno (Ret.)

Hon. Margaret A. Nagle (Ret.)

Hon. Randall J. Newsome (Ret.)

Hon. S. James Otero (Ret.)

Hon. Henry Pitman (Ret.)

Hon. Philip M. Pro (Ret.)

Hon. Michael J. Reagan (Ret.)

Hon. Kathleen A. Roberts (Ret.)

Hon. Gerald E. Rosen (Ret.)

Hon. James M. Rosenbaum (Ret.)

Hon. Sidney I. Schenkier (Ret.)

Hon. Michael H. Schneider (Ret.)

Hon. Gregory M. Sleet (Ret.)

Hon. Frederic N. Smalkin (Ret.)

Hon. Charles B. Swartwood (Ret.)

Hon. Janice M. Symchych (Ret.)

Hon. Deanell Reece Tacha (Ret.)

Hon. Gary L. Taylor (Ret.)

Hon. Dickran M. Tevrizian (Ret.)

Hon. Ricardo M. Urbina (Ret.)

Hon. James Ware (Ret.)

Hon. Diane M. Welsh (Ret.)

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                                        Exhibit D: Spanish-Speaking
                                                 Arbitrators

Depending on any applicable requirements or the preferences of the parties, JAMS can supply
arbitrators who are able to conduct arbitrations in Spanish or English.

Spanish-speaking arbitrators:




                                           Mercedes Armas Bach (Retired Judge 11th Judicial Circuit):

Ms. Bach can hear testimony in Spanish and manage Spanish speaking witnesses, review documents,
briefs, etc. in Spanish, and conduct an arbitration hearing in Spanish. She can also write an award in
Spanish if a law clerk can be used.

As a retired Judge 11th Circuit, Ms. Bach has extensive experience mediating complex civil disputes and
is well regarded for her fairness, diligence, and efficiency in handling a wide variety of matters including
business/commercial, construction, employment, family law, insurance, intellectual property, personal
injury, professional liability, and real property actions.

Ms. Bach brings to her ADR practice at JAMS 17 years of experience from serving on the Florida Courts in
Dade County and 13 years in private law practice. A veteran mediator, Ms. Bach puts disputing parties at
ease with her calm demeanor and warm disposition to effect settlements. She is a Certified Civil
Mediator with the Florida Supreme Court and is trained in mortgage foreclosure mediation.

Arbitration is also a key element of Ms. Bach’s practice area.

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                                          Hon. Ariel E. Belen (Ret.):

Judge Belen can hear testimony in Spanish and manage Spanish speaking witnesses, review documents,
briefs, etc. in Spanish, conduct an arbitration hearing in Spanish, and write an award in Spanish.

Hon. Ariel E. Belen (Ret.), FCIArb joined JAMS in 2012 and serves as an arbitrator and mediator in
complex domestic and international disputes spanning a wide array of practice areas. During his nearly
eighteen-year tenure on the bench he served as an Associate Justice of the Appellate Division, Second
Department and as Administrative Judge of the Supreme Court, Kings County (Brooklyn). Judge Belen
also helped create and presided over the Commercial Division in Brooklyn. Judge Belen has earned a
reputation as a calm, intelligent, fair, and hardworking professional while facing the many complicated
issues that may arise in a dispute.

Judge Belen is a highly experienced international mediator and arbitrator. He can effectively
communicate with Spanish speaking litigants and clients. Judge Belen is a popular international speaker
and trainer for ADR. He has presented at ADR training programs for judges, attorneys, and business
leaders in Guatemala, Puerto Rico and Mexico. Judge Belen is a fellow of the Chartered Institute of
Arbitrators, a member of the Advisory Council of the CPR International Institute for Conflict Prevention
and Resolution, and a member of the International Mediation Institute. Judge Belen is a member of the
Board of Advisors of the Scheinman Institute on Conflict Resolution of the Cornell University School of
Industrial and Labor Relations.

Judge Belen is often retained as a special master in complex commercial and civil matters. He was
appointed as the Federal Facilitator to guide the Joint Remedial Process in the New York City stop and
frisk and trespass enforcement class action settlements as described in the Remedies Opinion in Floyd v.

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City of New York, 959 F. Supp. 2d 668 (SDNY 2013). In this program, Judge Belen was charged with
assisting the City of New York and its residents with developing sustainable reforms to the stop and frisk
and trespass enforcement practices of the New York City Police Department through a community
based civic engagement process. Judge Belen filed his Final Report and Recommendations with the
Southern District of New York in May 2018.

Judge Belen co-authored New York Trial Notebook, (James Publishing, 2008), supplemented annually, an
850- page comprehensive practice treatise for the trial of a civil case in New York.

Judge Belen was born in Puerto Rico and has spent time there throughout his adult life despite moving
from Puerto Rico in his childhood. He is also on the Southern District of New York Bankruptcy Mediation
Panel.




                                           Hon. Lynn Duryee (Ret.):

Judge Duryee can hear testimony in Spanish and manage Spanish speaking witnesses, review
documents, briefs, etc. in Spanish, and conduct an arbitration hearing in Spanish. She can also write an
award in Spanish if a law clerk can be used.

Judge Duryee has specialized in settling thorny legal disputes throughout her career, first as a trial court
judge for 21 years, and now at JAMS as a full-time Neutral. She is known for her practical, personal, and
get-it-done approach to settlement. Her deep experience in the law as well as her dedication to
resolving disputes make her an excellent choice as a neutral.




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As a Superior Court judge in Marin County, California, Judge Duryee resolved thousands of commercial,
contract, and negligence cases. During her tenure as the supervising family law judge, she settled
hundreds of high-conflict, high emotion cases and eliminated 100% of the court’s backlog by instituting
settlement programs where trained attorneys and therapists assisted the court in settlement
conferences.

Outside of her duties at court, Judge Duryee has taught hundreds of courses to judges throughout
California in all aspects of trial, evidence, ethics, and dispute resolution. She served as Dean of the B.E.
Witkin Judicial College. Along with attorney Matt White, she co-wrote Mastering Mediation: 50 Essential
Tools for the Advanced Practitioner(ThompsonReuters, 2012). Currently, she teaches Civil Procedure as a
Visiting Professor at University of San Francisco School of Law.




                                           Hon. David A. Garcia (Ret.):

Judge Garcia can hear testimony in Spanish and manage Spanish speaking witnesses, review documents,
briefs, etc. in Spanish, conduct an arbitration hearing in Spanish, and write an award in Spanish.

Hon. David A. Garcia (Ret.), who has served 20 distinguished years on San Francisco’s municipal and
superior courts, is recognized as one of the best law and motion judges in the San Francisco Bay Area.
He is well known for his energy, intelligence, and thoughtful decision-making. As a law and motion judge
in the San Francisco Superior Court for seven years, Judge Garcia resolved thousands of pretrial motions
including pleading and summary judgment matters.


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In addition to civil, family law, and criminal matters, Judge Garcia presided over numerous settlement
hearings involving employment, real estate, business/commercial, insurance contract, civil rights,
landlord tenant, personal injury, products liability, medical malpractice, and legal malpractice with the
vast majority of cases settling.




                                           Cristina Pereyra-Alvarez (Retired Judge 11th Judicial Circuit):

Mrs. Pereyra-Alvarez can hear testimony in Spanish and manage Spanish speaking witnesses, review
documents, briefs, etc. in Spanish, conduct an arbitration hearing in Spanish, and write an award in
Spanish.

Cristina Pereyra-Alvarez, retired Judge 11th Judicial Circuit, joins the JAMS panel after an exemplary
career as a lawyer, judge, and legal journalist. Mrs. Pereyra-Alvarez's extensive knowledge of the law
and rich cultural background positions her to serve as an effective and informed mediator and
arbitrator. Born in Tampa, Florida, Mrs. Pereyra-Alvarez grew up in Mexico where she earned her first
law degree from Universidad Anahuac in Mexico City. Upon returning to the United States, she earned a
second law degree from the University of Miami School of Law. After a distinguished career as an
assistant public defender in the 11th Judicial Circuit, Mrs. Pereyra-Alvarez became a Miami-Dade County
Court Judge in the 11th Judicial Circuit. In 2005, she was appointed as a Circuit Court Judge by former
Governor Jeb Bush.

In 2007, Mrs. Pereyra-Alvarez retired from the bench to preside on the first national Spanish language
court reality program “Veredicto Final” (Final Verdict). In 2011, she became Univision’s in-house legal
correspondent.


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Mrs. Pereyra-Alvarez has spent time in Puerto Rico and knows it well, and has conducted arbitrations by
videoconference in matters with parties in Puerto Rico.




                                          Joe Tirado:

Joe Tirado can hear testimony in Spanish and manage Spanish speaking witnesses, review documents,
briefs, etc. in Spanish, conduct an arbitration hearing in Spanish, and write an award in Spanish.

Joe Tirado has close to 30 years of dispute resolution experience and has handled hundreds of cases
across a broad range of industry sectors as counsel, arbitrator, mediator, and expert determiner in over
60 jurisdictions worldwide. Joe is Co-Head of International Arbitration and ADR at leading Spanish and
Latin American firm, Garrigues.

Joe has occupied global leadership positions in the leading firms from four major jurisdictions, including
the UK, US and Spain. Prior to joining Garrigues, Joe was also a partner and Global Co-Chair of
International Arbitration at Winston & Strawn LLP from 2012 to 2016. Prior to that, Joe was partner and
Head/Co-Head of International Arbitration and ADR at Norton Rose LLP (now Norton Rose Fulbright LLP)
from 2007 to 2012. He was also partner (2004-2007) and senior associate (2000-2003) at Baker Botts
LLP. Joe was an associate at Lovells (now Hogan Lovells LLP), and DLA (now DLA Piper LLP) having trained
at Boodle Hatfield.

Joe has represented sovereign governments, multi-national corporations and high net worth individuals.
He has handled high value cases in a number of sectors and industries including banking and finance;
commodities; construction and engineering; energy (oil & gas, renewable and power generation); food



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and beverage; information and communication technology (ICT); mining; petrochemical;
pharmaceutical; professional services; sport; transport (automobile, aviation and shipping) and travel.

Joe has also conducted and advised on international commercial and investment arbitration under all
the major international arbitration rules before the leading international arbitration institutions as well
as “pure” ad hoc and UNCITRAL arbitration. He is a solicitor-advocate with full rights of audience before
all civil courts, an accredited mediator, an ICSID conciliator and panel member of a number of leading
arbitration and mediation panels.

Joe writes extensively and presents regularly on international arbitration and ADR at major international
conferences, symposia, and seminars and prominent universities around the world. He is also actively
involved in arbitral and mediation institutions and prestigious international arbitration and ADR
associations and committees.



Arbitrations conducted in English
Our total neutral panel includes over 400 English-speaking full-time arbitrators. JAMS is able to work
with counsel to establish and scale a panel of suitable arbitrators depending on the number of matters
that proceed to arbitration under the approved alternative dispute resolution procedures.




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                                 Exhibit E: Awards and Accolades


Award-Winning Service

JAMS consistently draws accolades from the legal and business industries, as evidenced from the
following awards bestowed in the last several years alone:


2020
   •   Twelve JAMS Neutrals Ranked in Chambers USA 2020 Guide: JAMS neutrals recognized in
       three categories in the 2020 edition of Chambers USA.
   •   Five JAMS Neutrals Recognized in Who’s Who Legal: JAMS neutrals recognized for
       achievements and commitment to advancing ADR in construction disputes.
   •   Nine JAMS Panelists Named 2020 Southern California Super Lawyers: JAMS neutrals
       recognized for extraordinary work and accomplishments in 2020 Southern California Super
       Lawyer.
   •   U.S. News and Best Lawyers Survey: JAMS Receives 18 Top-Tier ADR Firm Rankings in 2020
       for mediation and arbitration services in the 2020 U.S. News & World Report and Best Lawyers
       rankings of legal services nationwide.

2019
   •   Texas Lawyer’s “Best Of” Survey: Two JAMS Texas cities named Best ADR Provider and Best
       Online Provider. Dallas, for the eighth consecutive year, received first place for Best ADR
       Provider and Houston placed first, in the same category, nonconsecutively in four years. Both
       cities placed first for Best Online ADR Provider.
   •   Who’s Who Legal: 22 neutrals and Ranse Howell, director of international operations, receive
       recognition in Who’s Who Legal: Mediation.
   •   Super Lawyers (New York Metro area): Nine JAMS Panelists are recognized in three categories:
       Alternative Dispute Resolution, Employment & Labor, and Intellectual Property. Peter H.
       Woodin, Esq. is recognized on the publication’s Ten Year List.
   •   Legal Intelligencer Survey: JAMS is rated as “Top ADR Provider” by online publication. In
       addition, two JAMS neutrals are recognized as “Best Individual Mediator”.
   •   Best Lawyers: Five JAMS Panelists recognized as “Lawyers of the Year” and 59 JAMS Panelists
       as “Best Lawyers in America” for 2020.
   •   Super Lawyers (Northern California): 12 JAMS neutrals are recognized in 2019 Northern
       California Super Lawyers List in the ADR category.
   •   The Recorder: received two honors from The Recorder: “Best ADR Provider” for the 13th Year
       in a Row and Best “Online ADR Resource”.
   •   Chambers USA: America’s Leading Lawyers for Business: 13 JAMS Neutrals are ranked across
       three categories: nationwide Mediators, Construction: Mediators list for California, and
       International Arbitration: Arbitrators list.
   •   Super Lawyers (Southern California): 11 neutrals selected for the 2019 Southern California
       Super Lawyer list in the alternative dispute resolution category.
2018

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   •   Who’s Who Legal: Mediation: JAMS is the leading firm with the highest number of neutrals, 18,
       featured in Who’s Who Legal.
   •   Michigan Lawyers Weekly: JAMS is voted Best ADR Provider by Michigan Lawyers Weekly in
       its annual Readers ranking survey.
   •   Massachusetts Lawyers Weekly Reader Survey: JAMS Boston Resolution Center voted Best
       ADR provider in the Massachusetts Lawyers Weekly Readers Ranking Survey for the second year
       in a row.
   •   Connecticut Law Tribune: JAMS is named Best Overall ADR Provider in publication’s “Best
       of” Survey.
   •   Best Lawyers: Two JAMS panelists are recognized as “Lawyers of the Year” and 57 of its
       panelists as 2019 “Best Lawyers in America”.
   •   Legal Intelligencer “Best of” Survey: JAMS placed first for the ninth consecutive year in a row,
       in addition to its two neutrals in the “Best Individual Mediator” category.
   •   The Recorder Reader Survey: JAMS is named the top Alternative Dispute resolution provider
       for the 12th year in a row in the publication’s annual “Best of” list.
   •   National Law Journal: 15 JAMS neutrals were recognized as ADR champions for National Law
       Journal’s Alternative Dispute Resolution (ADR) Champions List.
   •   Chambers USA: 10 JAMS neutrals were selected for the 2018 edition of Chambers USA:
       America’s Leading Lawyers for Business. Eight panelists recognized in the nationwide Mediators
       and International Arbitration: Arbitrators list and two for the California Construction Mediators
       list.
2017
   •   Best Lawyers: Eight JAMS Panelists Named Best Lawyers’ “Lawyers of the Year;” 53
       Panelists Recognized as 2018 Best Lawyers in America.
   •   Reader Survey: JAMS Boston Wins Best ADR Provider.
   •   Who’s Who Legal: JAMS Named Mediation Firm of the Year.
   •   2017 Experts Guide: JAMS Panelists Named as Top Commercial Arbitrators.
   •   The Recorder: JAMS named the top Alternative Dispute Resolution provider.
   •   US News & World Report: JAMS Receives 12 Top Tier ADR Firm Rankings.
   •   Legal Intelligencer Survey: JAMS Wins “Top ADR Provider” Eight Years in a Row.
   •   National Law Journal and Legal Times: Seven JAMS Panelists Named 2017 ADR Champions.
   •   Chambers USA: Ten JAMS Panelists Ranked.

2016
   •   Best Lawyers: Five JAMS Panelists Named Best Lawyers “Lawyers of the Year;” 48
       JAMS Panelists Recognized as 2017 Best Lawyers in America.
   •   D Magazine: JAMS Dallas Neutrals Selected as 2016 “Best Lawyers”.
   •   Legal Times: JAMS Named Best ADR Provider in Washington, D.C. Three Years Running.
   •   Who’s Who Legal: JAMS Named Mediation Firm of the Year.
   •   Chambers USA: JAMS Panelists Rank Prominently.

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   •   National Law Journal ADR Champions: JAMS Panelists Rank Prominently.
   •   Daily Business Review: JAMS Places First in the “Best of” Survey Five Years Running.
   •   Texas Lawyer: JAMS Places First in the “Best of” Survey.
   •   New Jersey Law Journal: JAMS Ranked Best ADR Provider in New Jersey.
   •   The Recorder: JAMS Ranks First in Annual “Best of” List.
   •   Legal Intelligence Survey: JAMS Rated “TOP ADR Provider” Seven Years Running.
   •   Corporate Counsel: JAMS Receives First Place in “Best of” Survey




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